






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-10-00680-CR







Michael Raymond Karras, Appellant



v.



The State of Texas, Appellee






FROM THE DISTRICT COURT OF BELL COUNTY, 264TH JUDICIAL DISTRICT


NO. 66356, HONORABLE MARTHA J. TRUDO, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N



Appellant Michael Raymond Karras pleaded guilty to forgery by passing.  See Tex.
Penal Code Ann. § 32.21 (West Supp. 2010).  He also pleaded true to the two previous forgery
convictions alleged for enhancement.  See id. § 12.42(a)(1).  There was no plea bargain, and the trial
court assessed punishment at ten years' imprisonment.  In his sole point of error, appellant urges that
the court erred by ordering him to pay his appointed attorney's fees.  The State concedes error.

A trial court's authority to order a defendant to repay the cost of court-appointed legal
counsel is expressly conditioned on the court determining that the defendant has the financial
resources and ability to pay.  Tex. Code Crim. Proc. Ann. art. 26.05(g) (West Supp. 2010).  The
defendant's financial resources and ability to pay are explicit critical elements under article 26.05(g)
that must be supported by record evidence.  Mayer v. State, 309 S.W.3d 552, 556 (Tex. Crim. App.
2010).  No trial objection is required to preserve the sufficiency of the evidence for appellate
review.&nbsp;&nbsp;Id.  When the evidence does not support the order to pay attorney's fees, the proper remedy
is to delete the order.  Id. at 557.

Appellant was represented at trial by appointed counsel after he was determined to
be indigent.  As the State concedes, there is no evidence that appellant is now financially able to
repay the cost of his appointed attorney.  The point of error is sustained.

The trial court's judgment is modified to delete the order that appellant pay $630 in
attorney's fees.  As modified, the judgment of conviction is affirmed.



				__________________________________________

				J. Woodfin Jones, Chief Justice

Before Chief Justice Jones, Justices Henson and Goodwin

Modified and, as Modified, Affirmed

Filed:   January 19, 2011

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